                      Case 22-13870-LMI   Doc 37       Filed 08/16/22     Page 1 of 2




           ORDERED in the Southern District of Florida on August 15, 2022.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge
___________________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov


           IN RE:                                               CASE NO: 22-13870-BKC-LMI
           JOSEFINA ALCAZAR,
                               DEBTOR(S).
                                          /


                             ORDER DISMISSING CHAPTER 13 CASE


                THIS CASE came on to be heard on August 9, 2022, for the Trustee’s

           Motion to Dismiss Case (ECF #28), and based on the record, it is

                ORDERED as follows:
                1.    This case is hereby dismissed from the date hereof as pending
           issues with (ECF #28) were not resolved.
                2.    All pending motions are denied as moot.
                3.    The trustee shall file a final report prior to the
           administrative closing of the case.
                4.   (If applicable) the debtor shall immediately pay to the
           Clerk, U.S. Court, C. Clyde Atkins United States Courthouse, 301
           North Miami Avenue, Room 150, Miami, FL 33128, $0.00 for the balance



                                                   1
             Case 22-13870-LMI   Doc 37       Filed 08/16/22   Page 2 of 2



of the filing fee as required by Local Rule 1017-2(E). Any funds
remaining with the trustee shall be applied to this balance and the
trustee must dispose of any funds in accordance with the Bankruptcy
Code, and Local Rule 1017-2(F), unless otherwise ordered by the court.
The court will not entertain a motion for reconsideration of this
order unless all unpaid fees are paid at the time the motion is filed.
     5. A motion to rehear, reconsider, or reinstate a dismissed
case must be filed in accordance with the requirements of Local Rule
9013-1(E).
     6. The clerk of court is directed to refuse to accept for filing
any future voluntary petitions submitted by this debtor if the refiling
violates a prior order of the court or if the petition is accompanied
by an Application to Pay Filing Fee in Installments and filing fees
remain due from any previous case filed by the debtor.


                                     ###

PREPARED BY:

NANCY K.   NEIDICH, ESQUIRE
STANDING   CHAPTER 13 TRUSTEE
P.O. BOX   279806
MIRAMAR,   FL 33027-9806

THE CLERK OF COURT is directed to serve a copy of this Order on interested
parties who do not receive service by CM/ECF, and file a proof of
such service within two (2) business days from entry of the Order.




                                          2
